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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                         )
                                                  )
v.                                                )    2:20-cr-00094-1
                                                  )
JUSTIN SEAN JOHNSON,                              )
                                                  )
                        Defendant.                )

                                        ORDER OF COURT

        IT IS HEREBY ORDERED that pursuant to Local Criminal Rule 32 (C), the probation
office will prepare a pre-sentence investigation report. Thereafter, the probation office will
forward a copy of that report to defense counsel to review with his client prior to sentencing.
The probation office will also forward copy of the report to the Assistant United States Attorney.

        If either party disputes facts contained in the report that are material to sentencing, it will
be that party’s obligation to seek administrative resolution of that matter through a pre-sentence
conference with opposing counsel and the probation officer. Thereafter, defense counsel and
the Assistant United States Attorney will each file with the clerk of court, and serve upon
opposing counsel and the probation office, their positions with respect to sentencing factors.
This pleading will be accompanied by a written statement certifying that filing counsel has
conferred with opposing counsel and the probation office in an attempt to resolve any disputed
matter.

        After receipt of the parties’ positions, the reporting probation officer will make any
necessary investigation and revisions to the report. In any event, the reporting probation officer
will prepare an addendum to the report that sets forth any objection to the report that has been
made by counsel but not resolved, together with the probation officer’s comments. The
probation officer will certify that the report, any revisions thereto, and the addendum have been
disclosed to the defendant and all counsel and that the addendum fairly sets forth all remaining
objections.

                                                SO ORDERED this 20th day of May, 2021.

                                                s/ Mark R. Hornak
                                                Mark R. Hornak
                                                Chief United States District Judge



cc:     All counsel of record
